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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

 JUSTIN GUY, individually and on behalf
 of those similarly situated,

          Plaintiff,                                     Case No. 20-12734

 v.                                                      HON. MARK A. GOLDSMITH

 ABSOPURE WATER COMPANY, LLC

          Defendant.
                                                 /


                       ORDER FOLLOWING DECEMBER 4, 2023 HEARING

          The Court conducted a hearing on December 4, 2023 regarding a number of pretrial

 matters. As set forth on the record at the hearing:

         Defendant Absopure Water Company, LLC’s Motion for Reconsideration of Order

          Denying Admission of Absopure’s Proposed Trial Exhibits (Dkt. 198): The Court denies

          this motion for the reasons stated on the record. In addition, as explained during the

          hearing, the Court further orders that Absopure’s proposed trial exhibit No. 185 is excluded

          from evidence because it does not meet the requirements for summary exhibits under

          Federal Rule of Evidence 1006. To the extent Absopure attempts to utilize any of the

          excluded summary exhibits as pedagogic devices, it may seek permission from the Court

          to do so provided that Absopure has introduced substantiating evidence or testimony. As

          the Court previously explained during the November 13, 2023 joint final pretrial

          conference, the Court will not permit the parties to utilize demonstrative exhibits or devices

          during opening statements.




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       Plaintiffs’ Emergency Motion for Reconsideration of Order on Motion for Summary

        Judgment (Dkt. 214): The Court reserves its ruling on this motion pending Absopure’s

        presentation of evidence and argument at trial.

       Factual Issues Related to Safety: Per their stipulation, the parties will not be presenting

        evidence or argument regarding the factual issues related to driver safety or Absopure’s

        status as an entity regulated by the Department of Transportation. See Joint Final Pretrial

        Order at 16–19.

       Absopure’s Proposed Reliance on the Retail or Service Establishment Exemption:

        Absopure has until December 5, 2023 at 8:00 a.m. to file a memorandum providing support

        for its position that Absopure may (i) rely on the retail or service establishment exemption

        to the FLSA as a defense to Plaintiffs’ assertion that Absopure willfully violated the FLSA

        or (ii) argue that the commissions paid demonstrate no willful violation.

       Application of Small Vehicle Exception to MCA Exemption: By 5:00 p.m. on December

        5, 2023, the parties must submit memorandums providing authority for their respective

        positions as to whether the Small Vehicle Exception applies to (i) only those workweeks

        in which Plaintiffs worked more than 40 hours and drove vehicles weighing 10,000 pounds

        or less (a “week-by-week” approach), or (b) that some other standard should be applied.

       Number of Jurors: The parties agree that six of eight jurors are needed to render a verdict.


 SO ORDERED.

 Dated: December 5, 2023                              s/Mark A. Goldsmith
        Detroit, Michigan                             MARK A. GOLDSMITH
                                                      United States District Judge




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